Case 3:13-cv-02023-WQH-NLS Document 1 Filed 08/29/13 PageID.1 Page 1 of 4




 1 ERIC J. TROUTMAN (State Bar No. 229263)
   ejt@severson.com
 2 ANDREW A. WOOD (State Bar No. 279403)
   aaw@severson.com
 3 SEVERSON & WERSON
   A Professional Corporation
 4 The Atrium
   19100 Von Karman Avenue, Suite 700
 5 Irvine, California 92612
   Telephone: (949) 442-7110
 6 Facsimile: (949) 442-7118
 7 MARK D. LONERGAN (State Bar No. 143622)
   mdl@severson.com
 8 SEVERSON & WERSON
   A Professional Corporation
 9 One Embarcadero Center, Suite 2600
   San Francisco, California 94111
10 Telephone: (415) 398-3344
   Facsimile: (415) 956-0439
11
   Attorneys for Defendant
12 CREDIT ACCEPTANCE CORPORATION
13                            UNITED STATES DISTRICT COURT
14                          SOUTHERN DISTRICT OF CALIFORNIA
15 LUZ BOYD-MALONE and MICHAEL                           Case No.       '13CV2023 WQHNLS
   MALONE,                                               Hon.
16                                                       Ctrm.
            Plaintiffs,
17                                                       NOTICE OF REMOVAL OF
        vs.                                              ACTION UNDER 28 U.S.C. § 1331
18                                                       (FEDERAL QUESTION) AND
   CREDIT ACCEPTANCE                                     § 1332 (DIVERSITY
19 CORPORATION and Does 1 through                        JURISDICTION)
   100,
20                                                       Action Filed: July 26, 2013
            Defendants.                                  Removed:
21                                                       Trial Date:   None Set
22
23            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
24 THE SOUTHERN DISTRICT OF CALIFORNIA, PLAINTIFFS,
25 PLAINTIFFS’ COUNSEL OF RECORD, AND ALL OTHER INTERESTED
26 PARTIES:
27            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441, and
28 1446, Defendant Credit Acceptance Corporation removes the above-captioned
     10858.0027/2833032.1                              -1-
     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331 (FEDERAL QUESTION) AND § 1332 (DIVERSITY JURISDICTION)
Case 3:13-cv-02023-WQH-NLS Document 1 Filed 08/29/13 PageID.2 Page 2 of 4




 1 action from the Superior Court of the State of California, County of San Diego, to
 2 the United States District Court, Southern District of California. Defendant is
 3 entitled to removal pursuant to 28 U.S.C. § 1331, based on federal question
 4 jurisdiction, and 28 U.S.C. § 1332, based on diversity of citizenship, as follows:
 5            1.        On July 26, 2013, an action was commenced in the Superior Court of
 6 the State of California in and for the County of San Diego entitled Boyd-Malone, et
 7 al. v. Credit Acceptance Corp., as Case No. 37-2013-00059554 (the “State Court
 8 Action”). Plaintiffs assert claims for (1) Violations of the Rosenthal Fair Debt
 9 Collection Practices Act (CCC Section 1788-1788.33), (2) Violations of the
10 Telephone Consumer Protection Act (47 U.S.C. §227 et seq.), and, (3) “Intrsion”
11 (sic). Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders
12 served upon or by Defendant in the State Court Action, including summons and
13 complaint, are attached to this Notice as Exhibit A.
14            2.        This Notice of Removal is timely under 28 U.S.C. § 1446(b) and Fed.
15 R. Civ. P. 6(a)(3) because the State Court Action was served on August 1, 2013.
16 Therefore, this notice of removal is filed within thirty days after service and within
17 one year of the original filing of the complaint.
18            3.        This Court has subject matter jurisdiction over this action and all claims
19 asserted against Defendant pursuant to 28 U.S.C. §§ 1331 and 1332(a), and removal
20 is proper pursuant to 28 U.S.C. § 1441.
21            4.        Venue in this Court is proper pursuant to 28 U.S.C. §§ 84(c) and
22 1441(a) because the United States District Court for the Southern District of
23 California is the federal judicial district and division embracing the Superior Court
24 of California in and for the County of San Diego, where the State Court Action
25 originally was filed.
26            5.        Pursuant to 28 U.S.C. §§ 1446(d), Defendant is filing this notice of
27 removal with this Court, serving a copy of this notice upon Plaintiffs, and filing a
28 copy in the Superior Court of California for the County of San Diego.
     10858.0027/2833032.1                              -2-
     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331 (FEDERAL QUESTION) AND § 1332 (DIVERSITY JURISDICTION)
Case 3:13-cv-02023-WQH-NLS Document 1 Filed 08/29/13 PageID.3 Page 3 of 4




 1                                               Federal Question
 2            6.        The Complaint names a claim for violation of the Telephone Consumer
 3 Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”). The claim therefore presents a
 4 federal question within the meaning of 28 U.S.C. § 1331, as it arises under the laws
 5 of the United States. See Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740,
 6 753 (2012) (holding federal courts have original jurisdiction to hear TCPA claims
 7 pursuant to 28 U.S.C. § 1331.)
 8                                          Diversity of Citizenship
 9            7.        The Defendant and Plaintiffs in this matter are citizens of different
10 states. Plaintiffs are and at all times relevant were citizens of California. See
11 Complaint ¶5.
12            8.        Credit Acceptance Corporation is, and at all times relevant was, a
13 citizen of the state of Michigan, where it was and is incorporated, and where it had
14 and has its principal place of business.
15            9.        The only other defendants named in the Complaint are fictitiously
16 named defendants. According to 28 U.S.C. § 1441(a), for removal purposes, “the
17 citizenship of defendants sued under fictitious names shall be disregarded.”
18                                          Amount in Controversy
19            10.       Plaintiffs seek, at a minimum, $210,000 under their TCPA claim, as
20 they seek $1,500 per separate alleged violation and claim at least 140 separate
21 violations occurred. See Compl. ¶17. Plaintiffs seek additional damages for alleged
22 violations of the Rosenthal Fair Debt Collection Practices Act, and for intrusion.
23 Therefore, the amount in controversy requirement is satisfied. See 28 U.S.C.
24 § 1332(a).
25
26
27
28
     10858.0027/2833032.1                              -3-
     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331 (FEDERAL QUESTION) AND § 1332 (DIVERSITY JURISDICTION)
Case 3:13-cv-02023-WQH-NLS Document 1 Filed 08/29/13 PageID.4 Page 4 of 4




 1            WHEREFORE, Defendant prays that the State Court Action be removed
 2 from state court to this Court and that this Court assume jurisdiction over the action
 3 and determine it on the merits.
 4
 5 DATED: August 29, 2013                       SEVERSON & WERSON
                                                A Professional Corporation
 6
 7
 8                                              By:           /s/ Andrew A. Wood
 9                                                                 Andrew A. Wood
10
                                                Attorneys for Defendant
11                                              CREDIT ACCEPTANCE CORPORATION
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     10858.0027/2833032.1                              -4-
     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331 (FEDERAL QUESTION) AND § 1332 (DIVERSITY JURISDICTION)
